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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JENNIFER NOVIELLI,                                          CIVIL ACTION
               Plaintiff,

               v.

TREC GROUP, INC.,                                           NO. 16-1247
               Defendant.

                                           ORDER

       AND NOW, this 27th day of April, 2017, it having been reported that the issues between

the parties in the above action have been settled and upon Order of the Court pursuant to the

provisions of Rule 41.1(b) of the Local Rules of Civil Procedure of this Court, IT IS

ORDERED that the above action is DISMISSED WITH PREJUDICE, by agreement of

counsel, without costs.

                                                    BY THE COURT:

                                                    /s/ Hon. Jan E. DuBois

                                                        DuBOIS, JAN E., J.
